                     IN THE UNITED STATES DISTRICT COURT FOR THE
                                DISTRICT OF MARYLAND

MARC NELSON, TALIS PETROPOULOUS                      :
and ELIZABETH FESSEL                                 :
on behalf of themselves and                          :
all others similarly situated                        :
                                                     :
                              Plaintiffs,            :
                                                     :
       v.                                            :        CASE NO.: Case 8:18-cv-00824
                                                     :
TURNTABLE, LLC. d/b/a MOMO                           :
and SUNG Y. KIM                                      :
                                                     :
                              Defendants.            :


              JOINT MOTION TO MODIFY THE REMAINING DEADLINES ON THE
            SCHEDULING ORDER PENDING THE OUTCOME OF THE SETTLEMENT
                                   CONFERENCE

   The parties, by and through undersigned counsel, for good cause, jointly move this Court to

modify the current scheduling order and, in support, state:

   1. Plaintiffs Marc Nelson, Talis Petropoulous and Elizabeth Fessel have filed this wage and

       hour action against their former employer Turntable, LLC, and its president and owner,

       Sung Y. Kim.

   2. On April 25, 2018, the Court entered a Scheduling Order (DKT 7) providing for, among

       other things, the completion of discovery by September 6, 2018, requests for admission

       by September 13, and notice of intent to file a pre-trial dispositive motion by September

       20, 2018.

   3. Since entry of the scheduling order, the parties have exchanged written discovery and

       responses to the same, and consented to a settlement conference before Judge Schulze.

       The Scheduling Conference is scheduled for September 27, 2018. (DKT 14)
   4. The parties have been communicating and cooperating on the production of documents.

   5. Counsel for Plaintiffs believes, based on the discovery produced thus far, that the

       Plaintiffs have sufficient information to present a reasoned and informed settlement

       proposal.

   6. The parties prefer to defer the taking of depositions (and related costs) and additional

       discovery until after the settlement conference (should it be unsuccessful).

   7. The parties therefore suggest that the Scheduling Order be amended as follows:

 Completion of Discovery                                December 6, 2018

 Requests for Admission                                 December 13, 2018
 Notice of Intent to File a Pre-trial Dispositive       December 20, 2018
 Motion


   8. No party would be prejudiced by the requested extension.

WHEREFORE, for all of the foregoing reasons, the parties respectfully ask the Court to modify

the scheduling order as requested above.

Respectfully submitted,


____/S/ ______________________                            ____/S/ ______________________
James E. Rubin, Bar No. 15605                             (signed by James Rubin w/permission)
THE RUBIN EMPLOYMENT LAW FIRM                             Sean T. Morris
600 Jefferson Plaza, Suite 204                            THE MORRIS LAW FIRM LLC
Rockville, MD 20853                                       4845 Rugby Avenue, Suite 302
Telephone: (301) 760-7914                                 Bethesda, Maryland 20814
jrubin@rubinemploymentlaw.com                             301.654.6570 (o)
                                                          stm@morrisesq.com
Counsel for Plaintiffs
                                                          Counsel for Defendants




                                                    2
                                CERTIFICATE OF SERVICE


I certify that on, August 10th, 2018, a true and correct copy of the foregoing was filed via ECF
and served upon:

Sean T. Morris
THE MORRIS LAW FIRM LLC
4845 Rugby Avenue, Suite 302
Bethesda, Maryland 20814
301.654.6570 (o)
stm@morrisesq.com

                                             __________/s/_______________________
                                             James E. Rubin, Bar No. 15605




                                                 3
